          Case 8:14-bk-14105-SC                  Doc 803 Filed 10/24/19 Entered 10/24/19 10:15:59                                      Desc
                                                  Main Document     Page 1 of 3

 Attorney or Party Name, Address, Telephone & FAX                           FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

   Jeremy V. Richards (CA Bar No. 102300)
   Teddy M. Kapur (CA Bar No. 242486)                                                                   FILED & ENTERED
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   Email: jrichards@pszjlaw.com                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                                                          Central District of California
          tkapur@pszjlaw.com                                                                              BY nbolte     DEPUTY CLERK




      Debtor appearing without attorney
      Attorney for: Richard M. Pachulski, Plan
 Administrator and former Chapter 11 Trustee for Randall
 William Blanchard

                                          UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
 In re:
                                                                            CASE NO.: 8:14-bk-14105-SC
 RANDALL WILLIAM BLANCHARD, aka RANDY                                       CHAPTER: 11
 BLANCHARD,
                                                                            ORDER ON MOTION:
                                                                              (A) TO DEPOSIT FUNDS INTO THE COURT’S
                                                                                  REGISTRY, OR
                                                                              (B) TO DISBURSE FUNDS OUT OF THE
                                                                                  COURT’S REGISTRY
                                                                                                        [LBR 7067-1]
                                                                                 No hearing held
                                                                                 Hearing held
                                                                            DATE:
                                                                            TIME:
                                                                            COURTROOM:
                                                                            ADDRESS:
                                                             Debtor(s).

 MOVANT: Richard M. Pachulski, Plan Administrator and former Chapter 11 Trustee for Randall William Blanchard

Based on the motion for authority to (a) deposit funds into or (b) disburse funds out of the Bankruptcy Court’s registry,
filed on (date) September 25, 2019 as docket entry number 798, it is ordered that the motion is:
      Granted as follows:
           1. Deposits (for a motion for authority to deposit funds into the Bankruptcy Court’s registry):
                   A. The party specified in the motion is authorized and directed to deposit (exact dollar amount):
                      $150,000.00, by check or money order, made payable to "U.S. Bankruptcy Court," personally



           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2016                                                          Page 1                           F 7067-1.1.ORDER.REGISTRY.FUND
DOCS_LA:324520.1 68704/003
        Case 8:14-bk-14105-SC                   Doc 803 Filed 10/24/19 Entered 10/24/19 10:15:59                                      Desc
                                                 Main Document     Page 2 of 3

                       delivered, together with a copy of this Order, to the Clerk of the Bankruptcy Court or Chief Deputy
                       Clerk, (i) as soon as practicable after funds are available, or (ii) no later than (date, if applicable)                .
                  B. The Clerk is directed to deposit the funds into an interest bearing account with an authorized
                     depository as specified in General Order 13-01 (as it may be amended from time to time), subject to
                     deduction of an investment fee from the income earned as provided in that general order and LBR
                     7067-1(e), and to retain such funds on deposit until further order of the court.
                  C. Nature of deposit (choose one):
                                 i.   Not "disputed ownership funds" (CRIS system). Based on the record presented, this
                                 court does not find or conclude that the funds at issue must be treated as "disputed
                                 ownership funds" as that term is defined by the Internal Revenue Service (26 C.F.R. §
                                 1.468B-9(b)(1)). Accordingly, pursuant to General Order 13-01 (as it may be amended from
                                 time to time) and LBR 7067-1(e), the Administrative Office of the United States Courts is
                                 hereby authorized and directed to administer the funds, and charge fees, under the Court
                                 Registry Investment System (CRIS).
                                 ii.   Ordinary "disputed ownership funds" (CRIS DOF). This court finds and concludes that
                                 the funds to be deposited are interpleader funds, or other funds which qualify as “disputed
                                 ownership funds” as that term is defined by the Internal Revenue Service (26 C.F.R. §
                                 1.468B-9(b)(1)). Accordingly, pursuant to General Order 13-01 (as it may be amended from
                                 time to time) and LBR 7067-1(e), the Administrative Office of the United States Courts is
                                 hereby authorized and directed to administer the funds, charge fees, and withhold and pay
                                 taxes, under its Disputed Ownership Funds system (CRIS DOF).
                                 iii.   Disputed ownership funds requiring special administration. The funds to be deposited
                                 qualify as “disputed ownership funds” as that term is defined by the Internal Revenue Service
                                 (26 C.F.R. § 1.468B-9(b)(1)) but require special administration, such as periodic withdrawals
                                 for payment of expenses related to this bankruptcy case or a related proceeding. A special
                                 administrator is required, and it cannot be the Clerk nor can it be the Administrative Office of
                                 the United States Courts, because neither is set up to administer such complex accounting.
                                 Accordingly, pursuant to General Order 13-01 (as it may be amended from time to time) and
                                 LBR 7067-1, this court appoints the following person as the special administrator to
                                 administer the funds, charge fees, and withhold and pay taxes. The special administrator's
                                 compensation and other terms are as set forth either in the motion, or elsewhere in this order,
                                 or in a separate order. Special administrator: ____________________________________.
          2. Disbursements (for a motion for disbursement of funds on deposit with the Bankruptcy Court’s registry):
                  A. This court being satisfied that the time for appeal of any related judgment or order having expired, or
                     upon written stipulation of the parties (docket no.       ) approved by this court, the Clerk of the
                     Bankruptcy Court is hereby requested and directed to disburse $                      , plus accrued
                     interest, if any, as follows, conditioned on the following persons presenting a W-9 form or other form
                     of taxpayer identification acceptable to the Clerk for tax reporting purposes:
                       i.        To (name):
                             $          OR             % of the principal balance of the fund, and
                             $          OR             % of the accrued interest on the fund, at the following address:
                             _________________________________________
                             _________________________________________
                             _________________________________________
                             _________________________________________


                       ii.       To (name):
                             $          OR             % of the principal balance of the fund, and
                             $          OR             % of the accrued interest on the fund, at the following address:
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December 2016                                                         Page 2                           F 7067-1.1.ORDER.REGISTRY.FUND
DOCS_LA:324520.1 68704/003
        Case 8:14-bk-14105-SC                   Doc 803 Filed 10/24/19 Entered 10/24/19 10:15:59                                      Desc
                                                 Main Document     Page 3 of 3

                              _________________________________________
                              _________________________________________
                              _________________________________________
                              _________________________________________


                       iii.       To (name):
                              $         OR             % of the principal balance of the fund, and
                              $         OR             % of the accrued interest on the fund, at the following address:
                              _________________________________________
                              _________________________________________
                              _________________________________________
                              _________________________________________

                              See attached continuation page for additional recipients.
                  B. The Clerk of the Bankruptcy Court is relieved from liability for loss of interest, if any, for early
                     withdrawal of the above-referenced funds.

      Denied

      Set for hearing on (date)                        at (time)               .

     Other provisions: ___________________________________________________________________________
_______________________________________________________________________________________________
_______________________________________________________________________________________________
_______________________________________________________________________________________________


                                                                        ###




                Date: October 24, 2019




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December 2016                                                         Page 3                           F 7067-1.1.ORDER.REGISTRY.FUND
DOCS_LA:324520.1 68704/003
